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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
vs.                                        )   CRIMINAL NO. 17-00236-CG
                                           )
DURWOOD McCALPIN and                       )
DEMONDRE LAPORTER                          )
PERNELL,
                                           )
      Defendant.                           )

                                      ORDER

      This matter is before the Court on the Motion for Trial in the Northern

Division filed by Defendant Durwood McCalpin (Doc. 23), and joined by Defendant

Demondre Laporter Pernell (Doc. 26), and the Government’s response in objection

thereto (Doc. 25).

      Rule 18 of the Federal Rules of Criminal Procedure addresses the place of

trial. The sets forth certain factors, which the Court may consider, as follows:

      Unless a statute or these rules permit otherwise, the government must
      prosecute an offense in a district where the offense was committed. The
      court must set the place of trial within the district with due regard for
      the convenience of the defendant, any victim, and the witnesses, and
      the prompt administration of justice.

Fed.R.Crim. P. 18

      Because the offense was committed in the Northern Division and the

witnesses are from the Northern Division, the Court finds that the Defendant’s

motion is due to be GRANTED.
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      Chief District Judge Kristi K. DuBose will be selecting a jury in the Northern

Division on January 22, 2018, and has agreed to select the jury and try this case in

the Northern Division; therefore, jury selection of this matter is scheduled for

January 22, 2018 to be held in the Northern Division, Selma, Alabama before Chief

District Judge Kristi K. DuBose. The specific date of trial will be determined at a

later time by Judge DuBose.

      DONE and ORDERED this 27th day of November, 2017.


                          /s/ Callie V. S. Granade
                          SENIOR UNITED STATES DISTRICT JUDGE




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